Case 22-10066-CTG Doc 52-1 Filed 02/02/22 Page 1 of 12

Subject: Team Systems International, LLC - Ch. 11 No. 22-10066-CTG - Creditors' Subpoena of
Documents

Date: Friday, January 21, 2022 at 4:38:03 PM Eastern Standard Time

From: Jenny Kasen

To: jedmonson@rc.com

BCC: Michael Moody, Leonard Collins

Attachments: Subpoena for Documents Team Systems 1.21.22[1].pdf

Dear Ms. Edmonson:
Please see the attached subpoena for the production of documents and notice thereof.

Please confirm that you will accept service hereof on behalf of your client, Team Systems International,
LLC.

Very truly yours,

Jenny R. Kasen, Esquire

Kasen & Kasen, P.C.

Tel: 302.652.3300 | Fax: 856.424.7565
E-Mail: jkasen@kasenlaw.com
www.kasenlaw.com

New Jersey | Pennsylvania | Delaware | Florida | New York
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KASEN & KASEN

A PROFESSIONAL CORPORATION

a Yu
SOCIETY HILL OFFICE PARK, SUITE 3

DAVID A. KASEN A*of CHERRY HILL, NJ 08003-2038. 1000 West TRE
FRANCINE STEIN KASEN A , SUITE 1200
ee WILMINGTON, DE 19801
JENNY R. KASEN A* #40 TEL: (856) 424-4144 FAX: (856) 424-7565 TEL; (302) 652-3300
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AMERICAN BRD OF CERTIF -
ACCREDITED BY THE ABA NEW YORK OFFICE
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fT BOARD CERTIFIED 5* FLOOR
BUSINESS BANKRUPTCY LAW — NEW YORK, NY 10006
AMERICAN BRD OF CERTIF — January 21, 2022 TEL: (646) 397-6226

ACCREDITED BY THE ABA

Team Systems International, LLC
c/o Robinson & Cole LLP

Attn: Jamie L. Edmonson, Esq.
1201 N. Market Street, Suite 1406
Wilmington, Delaware 19801

Re: — Ch. 11 No. 22-10066-CTG — Creditors’ Notice of Subpoena Directed to and Served Upon
Team Systems International, LLC to Produce Documents

Dear Ms. Edmonson:

Please be advised that this office represents GPDEV, LLC and Simons Exploration, Inc. in
connection with the above-referenced chapter 11 bankruptcy case.

Please find enclosed for service a subpoena for the production of documents directed to and served
upon Team Systems International, LLC, along with notice thereof.

Please note that production of the documents requested is required to be made by no later than
January 24, 2022 at 12:00 p.m. (Eastern Time).

Very truly yours,
/s/ Jenny R. Kasen

JENNY R. KASEN
JRKyjk
Enclosure(s)
Via E-Mail: jedmonson@rc.com
Case 22-10066-CTG Doc 52-1 Filed 02/02/22 Page 3 of 12

B2570 (Form 2570 — Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/13)

UNITED STATES BANKRUPTCY COURT

District of Delaware

Inre Team Systems International, LLC
Debtor

Case No. _22-10066/CTG

(Complete if issued in an adversary proceeding)

Chapter 1]
Plaintiff
v. Adv. Proc. No.
Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To: Team Systems International, LLC

(Name of person to whom the subpoena is directed)

IX] Production. YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of
the material: All documents and materials responsive to document requests identified in Creditors' Notice of Rule 45
Subpoena directed to and served upon Team Systems International, LLC.

PLACE Production shall be made no later than 12:00 pm (EST) on DATE AND TIME
January 24, 2022 via email at jkasenlaw@kasenlaw.com 01/24/2022 at 12:00 pm (EST)

[_] Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

PLACE DATE AND TIME

The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached — Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not

doing so.
CLERK OF COURT
Lx ~— “ee o. ~
Boy me

Date: 01/22/2022
Signature of Clerk or Deputy Clerk gegn

The name, address, email address, and telephone number of the Kon resenting (name of party)

GPDEV, LLC and Simons Exploration, LLC, who issues or requests this subpoena, are:

Jenny R. Kasen, Esq., 1874 E. Marlton Pike, Suite 3, Cherry Hill, NJ 08003, (856) 424-4144, jkasen@kasenlaw.com
Notice to the person who issues or requests this subpoena

If this subpoena commands the production of documents, electronically stored information, or tangible things, or the

inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on

the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

Case 22-10066-CTG Doc 52-1 Filed 02/02/22 Page 4 of 12

B2570 (Form 2570 — Subpoena to Produce Decuments, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary

Proceeding) (Page 2)

ee Se

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

1 received this subpoena for (name of individual and title, if any):
on (date)

[x] I served the subpoena by delivering a copy to the named person as follows: Service effectuated as set forth in Creditors’
Notice of Subpoena directed to and served upon Team Systems International, LLC.

on (date) ; or

[_] I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true and correct.

Date: 01/22/2022

f \ a
/s/ Jenny R. Kasen ( ZZ . bes _f- Se
Serger ghaupt )

; a
Jenny R. Kasen, Esd. es

Printed name and title

1874 E. Marlton Pike, Suite 3, Cherry Hill, NJ 08003

Server’s address

Additional information concerning attempted service, etc.:
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B2570 (Form 2570 — Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding)

Federal Rule of Civil Procedure 45(c), (d), (e),

(Page 3)

and (g) (Effective 12/1/13)

(made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command;

(A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,
or regularly transacts business in person; and

(B) inspection of premises, at the premises to be inspected.

(a) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or
attorney responsible for issuing and serving a subpoena must take
reasonable steps to avoid imposing undue burden or expense on a person
subject to the subpoena. The court for the district where compliance is
required must enforce this duty and impose an appropriate sanction —
which may include lost earnings and reasonable attorney's fees — ona
party or attorney who fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(8) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing or
sampling any or all of the materials or to inspecting the premises — or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party's officer from
significant expense resulting from compliance.

(3) Quashing or Modifving a Subpoena.

(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iif) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitied. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert's opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

{i) shows a substantial need for the testimony or material that cannot
be otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably
compensated.

(c) Duties in Responding to a Subpoena.

(D) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents, A person responding to a subpoena to produce
documents must produce them as they are kept in the ordinary course of
business or must organize and label them to correspond to the categories in
the demand.

(8) Form for Producing Electronically Stored Information Not
Specified. Tf a subpoena does not specify a form for producing
electronically stored information, the person responding must produce it in
a form or forms in which it is ordinarily maintained or in a reasonably
usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not praduce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
tequesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld, A person withholding subpoenaed
information under a claim that it is privileged or subject to protection as
trial-preparation material must: /

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications,
or tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim. .

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any party that
received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved, must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may
promptly present the information under seal to the court for the district
where compliance is required for a determination of the claim. The person
who produced the information must preserve the information until the claim
is resolved.

(g) Contempt. The court for the district where compliance is required — and
also, after a motion is transferred, the issuing court — may hold in contempt
a person who, having been served, fails without adequate excuse to obey
the subpoena or an order related to it.

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:
Team Systems International, LLC,

Debtor(s).

Chapter 11

Case No. 22-10066-CTG

CREDITORS’ NOTICE OF SUBPOENAS DIRECTED TO AND SERVED
UPON TEAM SYSTEMS INTERNATIONAL, LLC TO PRODUCE DOCUMENTS

TO: Team Systems International, LLC
c/o Robinson & Cole LLP
Attn: Jamie L. Edmonson, Esq.
1201 N. Market Street, Suite 1406
Wilmington, Delaware 19801
Phone: 302-516-1705
Facsimile: 302-516-1699
Email: jedmonson@rc.com

PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil Procedure
(the “Federal Rules”), made applicable to the above-captioned bankruptcy case and all pending

motions therein through Rule 9016 of the Federal Rules of Bankruptcy Procedure (the

©

“Creditors”), by and through their undersigned counsel, hereby subpoena Team Systems
International, LLC to produce, for examination, inspection and copying, any and all documents
and materials responsive to the requests set forth below (each individually, a “Document

Request,” and collectively, the “Document Requests”) that are within their possession, custody

‘Bankruptcy Rules”), creditors GPDEV, LLC and Simons Exploration, Inc. (together the

or control and/or the possession, custody or control of their attorneys, advisors, representatives

and/or agents.
Case 22-10066-CTG Doc 52-1 Filed 02/02/22 Page 7 of 12

Production of the documents and materials responsive to the Document Requests herein
shall be made by no later than 12:00 p.m. (Eastern Time) on January 24, 2022, via email at

jkasen@kasenlaw.com.

A Subpoena is attached hereto.

DEFINITIONS

Wherever appropriate herein, the singular form of a word shall be interpreted as plural and
vice versa, and the masculine form of a word shall be interpreted as feminine and vice versa.

The term “and” as well as “or” shall be construed either disjunctively or conjunctively as
necessary to bring within the scope of these requests any information that might otherwise be
construed to be outside their scope.

The term “communication” means the transmittal of information (in the form of facts,
ideas, inquiries or otherwise) and includes every exchange of information by any means, either
oral or written, including, but not limited to statements from one person to another, discussions,
interviews, conferences, meetings, telephone conversations, letters, telegrams, memoranda, e-
mail, facsimile transmissions.

The term “Debtor” means Team Systems International, LLC and/or any officers, directors
and agents thereof.

The term “document” means anything that would be a “writing” or “recording” as defined
by Rule 1001(1) of the Federal Rules of Evidence or a “document” as defined in Federal Rule
34(a), and also includes, without limitation, the originals and all non-identical copies, whether
different from the original by reason of any notation made on such copies or otherwise, including,
but not limited to writings, drawings, graphs, charts, photographs, phone records, data

compilations, correspondence, memoranda, notes, diaries, minutes, statistics, letters, telegrams,
Case 22-10066-CTG Doc 52-1 Filed 02/02/22 Page 8 of 12

contracts, reports, studies, checks, statements, tags, labels, invoices, brochures, periodicals,
receipts, returns, summaries, pamphlets, books, prospectuses, interoffice and intra-office
communications, e-mails, offers, notations of any sort of conversations, working papers,
applications, permits, surveys, indices, telephone calls, meetings, printouts, teletypes, telefax,
invoices, work sheets, and all drafts, alterations, modifications, changes and amendments of the
foregoing, graphic or oral representations of any kind, including, without limitation, microfiche,
microfilm, videotape, recordings, motion pictures, plans, drawings, surveys, and electronic,
mechanical or electric records or representations of any kind, including, without limitation, tapes,
cassettes, discs and recordings.

The term “person” means a natural person, firm, proprietorship, association, partnership,
corporation, company, municipality, state government, local government, agency or any other type
of organization or entity.

The term “you(r)” means Team Systems International, LLC and/or any officers, directors
and agents thereof.

DOCUMENT REQUESTS

1. All books, bank records, logs, journals, checkbooks, canceled checks, notes, statements,
or any other documents reflecting deposits, withdrawals, transfers, wire transfers, Automated
Clearing House (ACH) transfers, or any form of Electronic Funds Transfers (EFT) (e.g., Zelle,
Venmo, PayPal), and balance of any checking account, savings account, certificate of deposit,
money market account, mutual fund account, credit card account or line of credit in which TSI had

or has any interest, whether solely or with third parties from November 29, 2017 to the present.
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2. Monthly statements for every checking and savings account owned by TSI November
29, 2017, to the present.

3. All documents evidencing the transfer of any property exceeding $500 from November
29, 2017, to the present.

4. Any and all contracts where TSI contracted to provide goods or services to the U.S.
Government, to any government or to any other corporate entity.

5. All communications between TSI and any of its members or employees and FEMA from
January 1, 2019, to the present.

6. All communications between TSI and any of its members or employees and the Defense
Logistics Agency from January 1, 2019, to the present.

7. All mortgages or any other documents reflecting any security interest of any party in any
interest in real property held by you, either individually or with other parties.

8. All certificates of title, bills of sale, invoices, correspondence, certificates of authenticity,
or other documents are reflecting ownership or other interests held by you, either individually or
with other parties, in any motor vehicle, mobile home, boat, vessel, art, antiques, furniture, stamps,
coins, or another article of personal property.

9. All stocks, bonds, coupons, promissory notes, mortgages, savings bonds, treasury bills,
or other securities owned by you, or in which you have any interest, either individually or with
other parties, together with all correspondence, notes, memoranda, books, records, or any other
documents reflecting ownership or value of any interest held in any of the foregoing by you, either

individually or with other parties.
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10. All books, records, journals, ledgers, federal or state income tax returns, IRS Forms W-
2, 1099 or K-l, payroll check stubs, and any other documents reflecting salaries, bonuses,
compensation, distributions, or income paid by you from November 29, 2017, to the present.

11. All income tax returns which you have filed since 2017.

12. All security agreements, pledge agreements, and other documents evidencing security
interests in and personal property, chooses in action, intangibles, and accounts receivable owned
by you.

13. Copies of all financial statements, including all income statements, balance
sheets and statements of cash flow prepared for TSI or on its behalf.

14. All documents reflecting outstanding accounts receivable that third parties
are obligated to pay to you.

15. All documents reflecting safe deposit boxes currently rented by or accessible to you.

16. All documents reflecting federal social security benefits paid to you.

17. All documents reflecting payments to you by pension or vacation funds.

18. All documents reflecting payments to you by state unemployment or workers’
compensation agencies.

19. All corporate resolutions of TSI from November 29, 2017, to the present.

20. All corporate charters or other governing documents of TSI.

21. All meeting minutes of TSI] member meetings from November 29, 2017, to the present.

22. All documents that document TSI’s accounts receivable or other corporate sources of
income.

23. All employment agreements to which you are a party.
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24. All documents reflecting the names and positions of shareholders, managing members,
or other corporate owners of TSI.

25. All records of agreement adding Chris Mott as member of Teams Systems
International, LLC.

26. All records of agreement adding John Maciorowski as member of Teams Systems
International, LLC.

27. All records documenting member payment distributions from Team Systems
International, LLC to Steve Acosta per his membership interest.

28. All records documenting member payment distributions from Team Systems
International, LLC to Deborah Mott per her membership interest.

29. All records documenting member payment distributions from Team Systems
International, LLC to Chris Mott per his membership interest.

30. All records documenting payment from Team Systems International, LLC to Luis A.
Ayala Colon Sucrs Inc.

31. All records documenting payment from Luis A. Ayala Colon Sucrs Inc. to any member
of Team Systems International, LLC (individually).

32. All records documenting member payment distributions from TeamSystems
International, LLC to John Maciorowski per his membership interest.

33. All records of RFPs, RFQs or any similar document(s) applying to the Federal
Government to contract for services offered by Team Systems International, LLC from November
29, 2017, through the date of this request.

34. All records of Team Systems International, LLC’s tax filings in the State of California.
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35. All records establishing and regarding the relationship between Team Systems

International, LLC and Team Systems International Pacific, LLC.

36. All records establishing and regarding the relationship between Team Systems

International, LLC and TSI Gulf Coast, LLC.

37. All records establishing and regarding the relationship between Team Systems

International, LLC and Team Systems International Southeast, LLC.

38. All records relied upon in preparing Team Systems International, LLC’s tax returns

from November 29, 2017, through the date of this request.

39. All records of, and including, Team Systems International, LLC’s operating agreement

and any and all amendments to the operating agreement from date of preparation through date of

this request.

Dated: January 21, 2022

KASEN & KASEN, P.C.

{s/ Jenny R. Kasen

Jenny R. Kasen, Esquire (DE Bar No. 5849)
The Brandywine Building

1000 N. West Street, Suite 1200
Wilmington, DE 19801

Telephone: (302) 652-3300

Facsimile: (856) 424-7565

E-Mail: jkasen@kasenlaw.com

-and-
MICHAEL H. MOODY LAW, P.A.

/s/ Michael H. Moody

Michael Moody, Esq.

1881-A Northwood Center Blvd

Tallahassee, FL 32303

Telephone: (850) 739-6970

E-Mail: Michael. Moody@michaelhmoodylaw.com

Counsel to GPDEV, LLC and SIMONS EXPLORATION,
INC.
